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                                   No. 22-16993

             In the United States Court of Appeals
                     for the Ninth Circuit
  PATRICK CALHOUN, ELAINE CRESPO, MICHAEL HENRY, CORINICE WILSON,
               RODNEY JOHNSON, and CLAUDIA KINDLER,
                                    Plaintiffs-Appellants,

                                          v.

                                  GOOGLE LLC,
                                          Defendant-Appellee.

                On Appeal from the United States District Court
                     for the Northern District of California
             Case No. 4:20-cv-05146 (Hon. Yvonne Gonzales Rogers)

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